Case 2:O4-cr-20177-.]DB Document 73 Filed 05/17/05 Page 1 of 2 PagelD 70

mario sr _ O.~’J.

|N THE UN|TED STATES D|STR|CT COURT z

FOR THE WESTERN D|STR|CT OF TENNESSEE i-’-EN ij iZ_?-i i=[[] 33
VVESTERN D|V|S|ON

 

 

UN|TED STATES OF Al\/|ERlCA
Plaintiff

VS.
CR. NO. 04-20177-01-B

GERALD RAYBORN (b)

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a status report on l\flarch 24, 2005. At that time, counsel for
the defendant requested a continuance of the Apri| 4, 2005 trial date in order to allow for
availability of Witnesses in the case.

The Court granted the request and set the trial date of Monday, July 11l 2005l at
9:30 a.m., in Courtroom 1, iith l-`loor ofthe Federal Bui|ding, l\/iemphis, TN.

The period from l\/lay 31 , 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

iris so oRDEREDthrS _/__7%¢1@ of ay,2005

 

N|EL BREEN
UN|T D STATES D|STR|CT JUDGE

This docu nent entered on the docr<et sheet in compliance

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

